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                                   United States Bankruptcy Court
                                           Eastern District of Louisiana


In Re:
   Antonia V. Higginbotham                                                 Case Number: 18−11418
   Debtor(s)                                                               Chapter: 7 Section B


ORDER APPROVING TRUSTEE'S FINAL ACCOUNT AND DISCHARGING TRUSTEE

                                                   CONVERTED



      Pursuant to hearing scheduled on June 5, 2019 , it appearing to the Court that S. J. Beaulieu, Jr., Trustee in said
case, has made distribution of all funds coming into his hands as required by order of this Court and has rendered a
full and complete accounting thereof, and that said Trustee has performed all other and further duties required of him
in the administration of said estate;


       IT IS ORDERED, that the accounts of S. J. Beaulieu, Jr., Trustee, be and they hereby are APPROVED and
ALLOWED; that said estate be, and it hereby is CLOSED; that S.J. Beaulieu, Jr. be discharged and relieved of his
trust; and that the bond of the said Trustee be cancelled and his surety or sureties thereon released from further
liability thereunder, except any liability which may have accrued during the time such bond was in effect.

  New Orleans, Louisiana, June 5, 2019.




                                                                   United States Bankruptcy Judge
